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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

v.                                                  Case No. 4:12cr33-RH

DARRYL KING
___________________________________

          GOVERNMENT’S RESPONSE TO THE DEFENDANT’S
             MOTION FOR REDUCTION IN SENTENCE

      Comes now, the United States of America, by and through the undersigned

Assistant United States Attorney, and files this response to defendant KING’S pro se

motion for reduction of sentence (Doc. 119). For the reasons set forth below, the

Court should deny King’s motion.

                            King’s crimes of conviction.

      After a federal grand jury indicted King, he appeared before this Court for a

change of plea to guilty, the Court adjudged him guilty of possession with intent to

distribute cocaine and aiding and abetting, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(C), and 18 U.S.C. § 2 (Count One); possession of firearm by convicted

felon and aiding and abetting, in violation of 18 U.S.C. §§ 922(g)(1) and 924(e) and

18 U.S.C. § 2 (Count Two); and possession of a firearm in furtherance of a drug

trafficking crime and aiding and abetting, in violation of 18 U.S.C. § 924(c)(1)(A)(i)

and 18 U.S.C. § 2 (Count Four). The Court imposed a sentence of 202 months’


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imprisonment on Counts One and Two concurrent, and sixty months’ imprisonment

on Count Four to run consecutive. (Doc. 61).

      A.     Defendant King’s request to the Bureau of Prisons sentence reduction.

      To the extent that Defendant’s motion before the Court is construed as a

request for reduction in sentence pursuant to 18 U.S.C. § 3582(c)(1)(A), it must be

denied in that by all indications Defendant appears to have failed to exhaust

necessary remedies. See United States v. Harris, 989 F.3d 908, 911 (11th Cir. 2021).

      B.     Defendant fails to claim extraordinary reasons to justify his motion.

      Alternatively, the defendant is not eligible for any § 3582(c)(1)(A) reduction

because his motion does not rely on nor state any of the extraordinary and

compelling reasons identified in the current version U.S.S.G. § 1B1.13, nor the

proposed amendments that will go into effect on November 1. See United States v.

Bryant, 996 F.3d 1243, 1247, 1252 (11th Cir. 2021) (holding that the court can only

grant § 3582(c)(1)(A) motions for the reasons identified in § 1B1.13).

      C.     If construed as a substantive challenge to the underlying sentence, the

             Court lacks jurisdiction to grant relief.

      Finally, To the extent the Defendant might attempt to raise any substantive

claims or challenges to his conviction or to the sentence imposed therein, this Court

lacks jurisdiction, because the Defendant has not received permission to file a




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successive § 2255 motion. See Farris v. United States, 333 F.3d 1211, 1216 (11th

Cir. 2003).

      Therefore, the motion before the Court by Defendant King states no grounds

upon which the Court either can or should grant relief, and as such, the government

respectfully requests that the motion for reduction of sentence be denied.

                                       Respectfully submitted on October 12, 2023.

                                       JASON R. COODY
                                       United States Attorney

                                       /s/ Eric K. Mountin
                                       ERIC K. MOUNTIN
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    CERTIFICATE OF COMPLIANCE WITH N.D. FLA. LOC. R. 7.1(F)

      I hereby certify that this response complies with the word limitation set forth

in N.D. Fla. Loc. R. 7.1(F). This response contains 446 words.

                                       /s/Eric Mountin
                                       ERIC K. MOUNTIN
                                       Assistant United States Attorney
                                       Northern District of Florida




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                        CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been mailed to Darryl King,

#221613-017, Federal Correctional Complex-Low, P.O. Box 1032, Coleman,

Florida 33521, this 12th day of October, 2023.

                                      /s/Eric Mountin
                                      ERIC K. MOUNTIN
                                      Assistant United States Attorney
                                      Northern District of Florida




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